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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                )
                                        )
             v.                         )     Case No. 1:22-cr-00166-01-BAH
                                        )
JOHN GEORGE TODD III,                   )
                                        )
                                        )
                   Defendant.           )


                    RESPONSE TO BOND MODIFICATION

      Comes now Ronna Holloman-Hughes, Assistant Federal Public Defender, and

respectfully submits that counsel has no objection to the modifications of the

defendant’s bond to include:

      (1) Obtain medical, psychiatric, or mental health treatment as directed by

          the U.S. Probation Office for the Western District of Missouri; and

      (2) Submit his person, property, house, residence, vehicle, or office for a

          search conducted by an officer of the U.S. Probation Office for the Western

          District of Missouri and warn other occupants that the premises may be

          subject to searches pursuant to this condition.

      Wherefore, counsel submits no objections to the proposed modifications.

                                        Respectfully submitted,

                                        /s/ Ronna Holloman-Hughes
                                        Ronna Holloman-Hughes
                                        Federal Public Defender
                                        1000 Walnut, Suite 600
                                        Kansas City, Missouri 64106
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                           CERTIFICATE OF SERVICE


       In accordance with Rule 49(a), (b) and (d), Fed. R. Crim. P., and Rule 5(b), Fed.
R. Civ. P., it is hereby certified that the foregoing was electronically filed and that
notice of filing was sent to all parties of record pursuant to the Electronic Case Filing
System on this 29th day of September 2022.


                                         /s/ Ronna Holloman-Hughes
                                         Ronna Holloman-Hughes
